Case 3:19-cr-00225-S Document 101 Filed 05/06/24 Page1lofi PagelD 879

PROB 22 DOCKET NUMBER (Tran. Court)
y. 01/24
Rev. 01/24) 3:19-CR-00225- S(1)
TRANSFER OF JURISDICTION DOCKET NUMBER (Rec. Court)
2:24CR303 (MEF)
NAME AND ADDRESS OF PROBATIONER/SUPERVISED RELEASEE DISTRICT DIVISION
Northern District of Texas Dallas
Andrew Scherr NAME OF SENTENCING JUDGE
The Honorable Karen Gren Scholer U.S District Judge
DATES OF PROBATION/ | FROM TO
SUPERVISED RELEASE
04/04/2024 04/03/2029

OFFENSE
Count 1: Conspiracy to Commit Crimes By or Affecting Persons Engaged in the Business of Insurance, in violation of 18 USC § 371
Count 2: Conspiracy to Commit Wire Fraud Affecting a Financial Institution, in violation of 18 USC §1349

JUSTIFICATION/REASON FOR TRANSFER (e.g.. prosocial ties, employment/education opportunities, violation of supervision

Mr. Scherr has no ties in the NDTX and plans to remain in New Jersey during his time on supervised release. The District of New Jersey has requested a transfer of
jurisdiction.

PART 1 - ORDER TRANSFERRING JURISDICTION

UNITED STATES DISTRICT COURT FOR THE Northern DISTRICT OF Texas

IT IS HEREBY ORDERED that, pursuant to 18 U.S.C. 3605, the jurisdiction of the probationer
or supervised releasee named above be transferred with the records of this Court to the United States
District Court for the District of New Jersey upon that Court’s order
of acceptance of jurisdiction. This Court hereby expressly consents that the period of probation or
supervised release may be changed by the District Court to which this transfer is made without further
inquiry of this court.*

April 25, 2024 Matte Yre-S Asher

Date ° United States District Judge

*This sentence may be deleted in the discretion of the transferring Court.

PART 2 —- ORDER ACCEPTING JURISDICTION

UNITED STATES DISTRICT COURT FOR THE DISTRICT OF New Jersey

IT IS HEREBY ORDERED that jurisdiction over the above-named probationer/supervised releasee
be accepted and assumed by this Court from and after the entry of this order.

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5/3/2024 i

Effective Date Hon. Michael E. Fafbiarz, U.S. District Judge

